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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

KAREN COCHENOUR,                                §
INDIVIDUALLY AND ON BEHALF OF                   §
ALL OTHERS SIMILARLY SITUATED,                  §    A-25-CV-7-RP
                Plaintiff,                      §
V.                                              §
                                                §
360TRAINING.COM, INC.                           §
DOING BUSINESS AS                               §
MORTGAGE EDUCATORS AND                          §
COMPLIANCE, INC.,                               §
                Defendant.                      §

                                            ORDER

       Plaintiff filed this case on January 2, 2025, Dkt. 1, and the first defendant substantively

appeared on March 5, 2025, Dkt. 10. Contrary to this Court’s local rules, the parties have not yet

submitted a proposed scheduling order. See W.D. Tex. Loc. R. CV-16(c) (requiring that the

parties to a case submit a proposed scheduling order to the court no later than 60 days after any

appearance of any defendant).

       Accordingly, IT IS ORDERED that the parties consult the website for the United States

District Court for the Western District of Texas (www.txwd.uscourts.gov), the “Judges’ Info”

tab, “Standing Orders,” “Austin Division,” and submit a joint proposed scheduling order using

District Judge Robert Pitman’s form on or before May 23, 2025.

       SIGNED on May 9, 2025.


                                                    _______________________________
                                                    MARK LANE
                                                    UNITED STATES MAGISTRATE JUDGE
